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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


ELIZABETH HALPER-ASEFI
[Address omitted. Request made to
file under Seal]
                                                        Case No. 1:24-cv-01118-RC
MARY CONOBOY
[Address omitted. Request made to
file under Seal]

NESTOR MONTE, JR.
[Address omitted. Request made to
file under Seal]

on behalf of themselves
and others similarly situated,

                       Plaintiffs,
       v.
MADONNA LOUISE CICCONE
152-156 E. 81st St.
New York, NY 10028

LINCOLN HOLDINGS, LLC D/B/A
MONUMENTAL SPORTS &
ENTERTAINMENT
601 F. Street, N.W.
Washington, D.C. 20004

                       Defendants.

        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
         DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT
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                                PRELIMINARY STATEMENT

       Plaintiffs’ counsel filed the Amended Complaint the day after he voluntarily dismissed his

parallel lawsuit in the Eastern District of New York—Fellows, et al. v. Ciccone, et al., No. 1:24-

cv-00357-HG (E.D.N.Y.) (the “New York Action” or “Fellows”)—with prejudice, and without

any compensation from or any other form of settlement with defendants.

       The New York Action involved nearly identical claims as Plaintiffs bring here. Like here,

the New York plaintiffs alleged they were “deceived” by the “8:30 p.m.” event time advertised for

Madonna’s Celebration Tour concerts because Madonna did not take the stage at 8:30 p.m., and

the concerts ended later than plaintiffs allegedly expected. In that substantially similar suit, the

New York district court recognized early in the case that “Defendants have made a strong showing

that their forthcoming motion [to dismiss] will eliminate or narrow the claims in this case”

(Fellows, March 4, 2024 Order) and, upon receipt of defendants’ motion, issued a sua sponte order

finding that the motion “identifies several likely legal deficiencies in the Complaint” (id., April 8,

2024 Order). Shortly before his opposition to defendants’ motion was due, Plaintiffs’ counsel

walked away from the case.

       Like the New York Action, Plaintiffs’ claims here are meritless and should be dismissed

with prejudice. Plaintiffs’ contention that the advertised “8:30 p.m.” event time is deceptive suffers

from several fatal deficiencies. In false advertising cases, courts consider how “reasonable

consumers” would understand the advertising in question, including how the target audience’s

background knowledge and experiences would affect that understanding. See pp. 10-13, infra. And

reasonable concertgoers—and certainly Madonna fans—do not expect the headline act at a major

arena concert to take the stage at the ticketed event time. Rather, a reasonable concertgoer would

understand that the venue’s doors will open at or before the ticketed time, that one or more opening

acts may perform before the headline act takes the stage, and that the headline act may take the
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stage later in the evening. That is what happened here. At each concert, an opening act performed

starting at or shortly after 8:30 p.m., and then after a set transition, Madonna took the stage. She

performed for over two hours, past midnight, as she often does. Indeed, if Madonna had taken the

stage at 8:30 p.m. sharp, many of her fans would have missed part of her show.

        Notably, Plaintiffs do not and cannot point to any statements by Defendants indicating that

Madonna herself would take the stage at 8:30 p.m. or that her performance would end by any

particular time. That is because Defendants never made any such representations. To the contrary,

Ticketmaster (who Plaintiffs say processed their concert ticket purchases) told concertgoers—and

Plaintiffs expressly agreed in connection with their ticket purchase—that the concert’s time was

subject to change and that there could be an opening act of an unknown duration. The venue itself

also told concertgoers prior to the concert that the “show will begin past the ticketed start time of

8:30 PM. Please plan your evening’s travel and surrounding details accordingly.”

        Plaintiffs acknowledge that Madonna “has a consistent history over many years of starting

her concerts over two hours late.” AC ¶ 33. This alone belies their allegation that they expected

Madonna to take the stage promptly at 8:30 p.m. Moreover, Plaintiffs’ claimed injury—that they

chose to leave the concerts early—is both implausible and illogical. Reasonable concertgoers know

that concert lengths vary based on numerous factors, including for example the duration of the

opening act, the amount of time needed for set changes, and the artist’s set list for the night. So no

matter when Plaintiffs expected Madonna to start performing, the 8:30 p.m. ticketed event time

could not have reasonably conveyed anything to them about when her performance would end.

Plaintiffs therefore fail to state any claim relating to the concerts’ timing.

        Plaintiffs’ claims premised on their allegations that the venue was “uncomfortably hot”

and that Madonna lip synched are also meritless. Plaintiffs do not claim Defendants made any




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representations about the venue’s temperature. Nor is being “hot” at a concert a cognizable injury.

And Plaintiffs fail to plausibly plead any facts to support their conclusory assertion that Madonna

lip synched some unidentified portions of the show. Even if there was any lip synching (there was

not), and even if Plaintiffs could plausibly allege it (they have not), there is no cognizable injury

to Plaintiffs. If a performer sang a few notes a little flat, or not loud enough for plaintiffs to hear,

or was a little out of synch in a dance routine, would this constitute Article III injury sufficient to

give rise to a legal claim? Of course not. The same is true of the alleged lip synching. For these

reasons and others, Plaintiffs fail to plausibly allege that reasonable consumers were deceived or

suffered any injury, and lack Article III standing. The Amended Complaint should be dismissed

in its entirety with prejudice.

        Beyond the Amended Complaint’s substantive flaws, it is also improperly styled as a

putative class action brought on behalf of anyone who bought a ticket or became a ticketholder for

the concerts. This would include concertgoers who (i) did not buy their own tickets and never saw

any ads for the concerts, (ii) knew or expected Madonna’s performance would start and end later

in the evening, (iii) did not leave the concerts early (unlike Plaintiffs), and (iv) had their

expectations met or exceeded. Plaintiffs’ own allegations confirm that they are not typical of the

broad class of individuals they seek to represent, and determining whether any given putative class

member was deceived, and if so how and to what extent, would necessarily involve individual

assessments that cannot be made on a class-wide basis. And, while the Amended Complaint alleges

that “no Class Member could afford to seek legal redress individually for the claims alleged herein”

(AC ¶ 25), Plaintiffs’ counsel has filed individual arbitrations and individual actions in small

claims court based on substantially the same allegations, on behalf of individual consumers who

attended Madonna concerts, including at Capital One Arena. Plaintiffs’ class allegations are thus




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false and implausible, and should be stricken.

                                  FACTUAL BACKGROUND

       Madonna is a famous artist who has performed many concert tours over the years. AC ¶ 4.

According to Plaintiffs, she “has a consistent history over many years of starting her concerts over

two hours late[.]” Id. ¶ 33. Plaintiffs also alleged that Madonna’s “late” starts and preference for

an “uncomfortably hot” environment have been widely covered by the media, but “not all people

who rely on advertising for the concerts know this.” Complaint ¶¶ 17, 55.

       All three Plaintiffs attended Madonna’s December 2023 concerts at the Capital One Arena

that were part of her recent “Celebration Tour.” AC ¶¶ 9-11. Conoboy and Monte allege that they

bought tickets directly from Ticketmaster. Id. ¶¶ 10-11. Halper-Asefi alleges that she bought

tickets from StubHub and that her purchase was processed by Ticketmaster. Id. ¶¶ 9, 17, n.4. Live

Nation, which is affiliated with Ticketmaster, was a defendant in this case until Plaintiffs deleted

Live Nation from the Amended Complaint without explanation. Despite this, the Amended

Complaint still cites Ticketmaster’s Purchase Policy (id. ¶ 17, n.4), which governs Plaintiffs’ ticket

purchases along with the Ticketmaster Terms of Use referenced in the Purchase Policy.1

       Plaintiffs allege that they were deceived by the “8:30 p.m.” event time listed on

“Defendants’ advertisements” (AC ¶ 12), but do not identify any of those ads. Plaintiffs also say

that the concert tickets themselves listed the event time (id.), but do not claim they saw or relied

on their tickets before buying them.



1
  See Warshafsky Decl., Exs. 1 & 2 (“This Purchase Policy applies to any purchases on our Site
made on or after January 1, 2021. . . . Please also review our Terms of Use, which govern your use
of our Site, and your purchase, possession, or use of any Live Nation or Ticketmaster tickets,
products, or services.”). Because the Amended Complaint cites and relies on these terms, the Court
may consider them here. See, e.g., Halldorson v. Sandi Grp., 934 F. Supp. 2d 147, 152 (D.D.C.
2013); BHC Interim Funding II, L.P. v. F.D.I.C., 851 F. Supp. 2d 131 n.2 (D.D.C. 2012).


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          Plaintiffs do not and cannot allege that Madonna’s December 2023 concerts at the Capital

One Arena failed to begin at or near the ticketed event time. Each concert had an opening act that

began at or shortly after 8:30 p.m. Plaintiffs mischaracterize the opening act (a performance by DJ

Mary Mac 5 Star followed by the emcee, Bob the Drag Queen) as “pre-recorded music” (id.,

Introduction at 3), but do not and cannot allege that the opening act failed to start promptly.

Consumers who attended Madonna’s concerts, including Plaintiffs, expressly acknowledged that

the concert may have one or more opening acts of an unknown duration. Warshafsky Decl., Ex. 1

§ 9. It is also widely known that major arena concerts usually have opening acts.

          Nevertheless, Plaintiffs now claim that they thought that “8:30 p.m.” meant that Madonna

herself would take the stage at that time. AC ¶ 13. According to Plaintiffs, some concertgoers (like

them) chose to leave early and missed part of Madonna’s performance, while others who stayed

late may have incurred additional costs for transportation and babysitters. Id. Yet the Amended

Complaint identifies no statements by Defendants about when Madonna would take the stage, how

long the show would run, or when the concert would end. Plaintiffs cannot identify any such

statements because Defendants made none. Defendants simply said the event would start at 8:30

p.m., which it did. Further, Plaintiffs and other concertgoers expressly acknowledged when they

bought their concert tickets that concert start times are subject to change. Warshafsky Decl., Ex. 1

§ 17.2

          Plaintiffs also allege that the Capital One Arena was “uncomfortably hot” during the

concert (AC ¶ 15), but do not identify any representations or promises by Defendants regarding

the venue’s temperature. Defendants made no such representations. Nor do Plaintiffs plead how


2
 Capital One Arena also told concertgoers before the concert that, “Due to the intricacies of the
Madonna production, [the] show will begin past the ticketed start time of 8:30 PM. Please plan
your evening’s travel and surrounding details accordingly.” Warshafsky Decl., Exs. 3-5.


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hot the venue was or how, if at all, being “uncomfortable” injured them or anyone else at the

concerts.

         Plaintiffs also make contradictory and wholly conclusory assertions about alleged lip

synching during the concerts. Plaintiffs inconsistently allege that Madonna lip synched “much of

her performance” (AC, Introduction at 3), “some of her songs” (id. ¶ 15), and “some of her

performance” (id. ¶ 33). They do not identify any songs during which Madonna allegedly lip

synched, say how long she allegedly did this, or say what the basis is for this claim. Plaintiffs

cannot make these allegations because Madonna sang live throughout the concerts.

         Plaintiffs are suing Madonna and the Capital One Arena for false advertising pursuant to

District of Columbia Code § 28-3904, et seq. (“CPPA”), promissory estoppel, unjust enrichment,

fraudulent misrepresentation, negligent misrepresentation, and civil conspiracy. Plaintiffs seek to

represent a class of everyone who became a ticketholder for the two December 2023 Madonna

concerts at the Capital One Arena, regardless of whether they purchased their own tickets, who

they got their tickets from, or whether they saw any advertising for the concerts at all. AC ¶ 17.

Plaintiffs claim they were injured because they left early (id., Introduction at 2), although they do

not say how much of the show they allegedly missed. Plaintiffs also allege that other concertgoers

stayed the full show and suffered different forms of injury, such as increased transportation and

babysitter costs. Id. ¶ 13. Plaintiffs do not explain how their claims are “typical” (id. ¶ 22) of the

majority of concertgoers who stayed for the entire concert. Nor do they explain how they are

typical of concertgoers who knew or did not care that Madonna would perform late into the

evening—or even hoped that she would do so—and chose to buy tickets anyway. See Complaint

¶ 17.




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       Plaintiffs also allege that their counsel will adequately represent the putative class. AC

¶ 23. But as noted, this is not the first lawsuit Plaintiffs’ counsel has filed against Madonna and

Live Nation. Before this action, Plaintiffs’ counsel filed the New York Action, which made mirror-

image allegations about Madonna’s Celebration Tour concerts at the Barclays Center. See Fellows,

ECF. No. 1.3

       The New York plaintiffs voluntarily dismissed that case with prejudice without any

compensation or settlement. Before they did so, the New York court strongly signaled, repeatedly,

that it was inclined to dismiss the case on the merits. First, in granting defendants’ request to stay

discovery, the court found that “Defendants have made a strong showing that their forthcoming

motion [to dismiss] will eliminate or narrow the claims in this case.” Fellows, March 4, 2024

Order. And then, after defendants moved to dismiss, the court issued a sua sponte order finding

that the motion “identifies several likely legal deficiencies in the Complaint.” Id., April 8, 2024

Order. Plaintiffs then amended their pleading and defendants renewed their motion to dismiss.

With plaintiffs’ opposition deadline approaching, plaintiffs’ counsel filed a false “Notice of

Settlement” that sought to adjourn that deadline. Id., ECF. No. 34. After a hearing, the court struck

that notice and maintained the existing briefing schedule. Id., Minute Entry dated June 11, 2024.

Rather than oppose defendants’ motion, plaintiffs then dismissed the case shortly before their

opposition deadline. Id., ECF. No. 36.

       The next day, Plaintiffs’ counsel filed the Amended Complaint in this case. In the Amended

Complaint, Plaintiffs’ counsel deleted numerous allegations from the original Complaint, which

also appeared in the New York complaint. These include allegations that defendants had explained



3
   The Court can take judicial notice of the New York Action. Brookens v. Solis, 635 F. Supp. 2d
1, 6 (D.D.C. 2009), aff’d, 2009 WL 5125192 (D.C. Cir. Dec. 9, 2009).


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in the New York Action belie the alleged claims. For example, the original Complaint alleged that

Madonna’s “late” concert starts have been the subject of “myriad articles in the media” and

acknowledged that some Madonna fans therefore know this (but “not all”). Complaint ¶ 17.

Likewise, the original Complaint alleged that there has been “significant media attention”

regarding the hot temperature at Madonna’s concerts. Id. ¶ 55. Those allegations (and others)

contradict the assertion that concertgoers were deceived.4

       Plaintiffs’ counsel is also engaged in other vexatious efforts to increase Defendants’ legal

expenses. Those efforts include, among other things, filing small claims court cases and filing

individual arbitrations on behalf of individual concertgoers. The individual arbitration claimants

are consumers who went to the Capital One Arena concerts and who are putative class members

according to the class definition in the Amended Complaint. Nevertheless, the Amended

Complaint falsely alleges that a class action is superior to individual actions because “no Class

Member could afford to seek legal redress individually for the claims alleged herein.” AC ¶ 25.

The Amended Complaint also alleges that “the Class Members’ interests are best served by a class

action rather than by individual actions.” Id. These allegations are irreconcilable with the

individual actions that Plaintiffs’ counsel has threatened to bring and has brought on behalf of

putative class members in this case.




4
  “[W]here a plaintiff blatantly changes his statement of the facts in order to respond to the
defendants[’s] motion to dismiss . . . [and] directly contradicts the facts set forth in his original
complaint a court is authorized to accept the facts described in the original complaint as true.”
Hourani v. Mirtchev, 943 F. Supp. 2d 159, 171 (D.D.C. 2013) (alterations in original) (citation
omitted), aff’d, 796 F.3d 1 (D.C. Cir. 2015).


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                                           ARGUMENT

I.     THE COMPLAINT SHOULD BE DISMISSED PURSUANT TO RULE 12(B)(6)

       A.      Legal Standard for Motion to Dismiss for Failure to State a Claim

       To survive a motion to dismiss, a complaint must include “enough facts to state a claim to

relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 556). A complaint should be dismissed when a

court is unable to infer more than the possibility of misconduct based on the pleaded facts. Id. at

678-79. Conclusory assertions are not entitled to a presumption of truth. Iqbal, 556 U.S. at 681.

       Further, where a claim sounds in fraud, the complaint must “state the time, place and

content of the false misrepresentations, the fact misrepresented and what was retained or given up

as a consequence of the fraud.” Kowal v. MCI Commc’ns Corp., 16 F.3d 1271, 1278 (D.C. Cir.

1994) (quoting United States ex rel. Joseph v. Cannon, 642 F.2d 1373, 1385 (D.C. Cir.

1981)). Rule 9(b), in other words, “requires that the pleader provide the ‘who, what, when, where,

and how’ with respect to the circumstances of the fraud.” Anderson v. USAA Cas. Ins. Co., 221

F.R.D. 250, 253 (D.D.C. 2004) (citations omitted).

       B.      Plaintiffs Do Not and Cannot Plausibly Allege that Defendants Misrepresented
               When Madonna Would Take or Leave the Stage

       Plaintiffs allege that Defendants misrepresented when Madonna’s performances at the

Capital One Arena would begin and end, resulting in concertgoers experiencing a later night out

than they may have planned. But the sole alleged representation that the Amended Complaint

identifies is the “8:30 p.m.” event time. Plaintiffs do not identify the specific piece of advertising

they allegedly saw and relied on. That failure to identify the allegedly false advertising at issue,



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including its “time, place and content,” fails to satisfy Rule 9(b), and this alone requires dismissal

of their claims. Kowal, 16 F.3d at 1278; see also Salvador v. Allstate Prop. & Cas. Ins. Co., 2020

WL 7042843, at *3 (D.D.C. Nov. 30, 2020) (dismissing false advertising claims where plaintiffs

failed to identify what specific advertisements they saw).

       Even beyond that fatal deficiency, Plaintiffs fail to plausibly allege that the ticketed event

time would deceive a reasonable consumer, as is required under applicable D.C. law. Under the

CPPA (as with similar statutes across the country), an allegedly unfair or deceptive practice “is

properly considered in terms of how the practice would be viewed and understood by a reasonable

consumer.” Pearson v. Chung, 961 A.2d 1067, 1075 (D.C. 2008) (explaining that this position has

“ample support” and collecting cases from across the country); Whiting v. AARP, 701 F. Supp. 2d

21, 30 (D.D.C. 2010), aff’d, 637 F.3d 355, 394 (D.C. Cir. 2011) (“none of the ‘misrepresentations’

that the plaintiff alleges are sufficient to establish a violation of the CPPA under the reasonable

consumer standard”). Likewise, claims for fraudulent misrepresentation and negligent

misrepresentation are evaluated under the reasonable consumer standard. E.M. v. Shady Grove

Reprod. Sci. Ctr. P.C., 496 F. Supp. 3d 338, 404 (D.D.C. 2020) (“Negligent misrepresentation

requires reasonable reliance . . . and a fraudulent misrepresentation is not material if a reasonable

person would not have relied on it” so “unreasonable reliance dooms” both claims). “Statements

are not actionable if they are ‘in fact either accurate, not misleading to a reasonable consumer, or

mere puffery.’” District of Columbia v. Facebook, 2023 D.C. Super. Lexis 7, at *9 (D.C. Super.

Ct. June 1, 2023) (citing Whiting, 701 F. Supp. 2d at 29).

       A court may determine as a matter of law that an allegedly deceptive practice would not

have misled a reasonable consumer. Floyd v. Bank of Am. Corp., 70 A.3d 246, 256-57 (D.C. 2013)

(holding “as a matter of law” that, by providing appellants with a ten-digit domestic-looking




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telephone number for customer service, appellees did not “‘use deceptive or representations or

designations of geographic origin”); Facebook, 2023 D.C. Super. Lexis 7 (reasonable consumer

could not have been misled as a matter of law in light of Facebook’s disclosures in its terms of

service and agreements). See also Fink v. Time Warner Cable, 714 F.3d 739, 741 (2d Cir. 2013)

(“It is well settled that a court may determine as a matter of law that an allegedly deceptive

advertisement would not have misled a reasonable consumer”); Chen v. Dunkin’ Brands, Inc., 954

F.3d 492, 501 (2d Cir. 2020) (quoting Geffner v. Coca-Cola Co., 928 F.3d 198, 200 (2d Cir. 2019))

(affirming complaint’s dismissal because reasonable consumers who are buying a $2 or $4 “grab-

and-go” wrap from Dunkin’ Donuts would not expect to receive an “unadulterated piece of meat”).

       A reasonable consumer would not be deceived in the manner that Plaintiffs allege.

Plaintiffs’ theory is that the “8:30 p.m.” event time advertised by Defendants reasonably conveyed

to concertgoers both that (1) Madonna herself would start performing then, and (2) Madonna

would therefore end her show by some unspecified earlier time than it actually ended. This is

utterly implausible in multiple respects.

       Critically, Plaintiffs do not point to any statements by Defendants about when Madonna

herself would take the stage or finish performing. The sole challenged statement here, the ticketed

event time of 8:30 p.m., simply referred to the approximate time that the event would begin. Yet

Plaintiffs do not claim that the venue was not open at the ticketed event time, that they were not

allowed into the venue at that time, or that the event failed to start at or around the ticketed event

time with an opening act. Indeed, the concerts in question had opening acts that began at or around

8:30 p.m. Thus, the ticketed event time was accurate. Plaintiffs cannot challenge this statement

because “a reasonable consumer generally would not deem an accurate statement to be misleading

. . . .” Saucier v. Countrywide Home Loans, 64 A.3d 428, 442 (D.C. 2013).




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       Plaintiffs’ attempt to reinvent what Defendants’ advertising said fails. The notation “8:30

p.m.” alone on a concert ticket or advertisement says nothing about when Madonna herself will

begin (never mind finish) performing. See Pearson, 961 A.2d at 1075 (rejecting plaintiff’s

argument that “Same Day Service” sign meant that same day service was always and automatically

provided, and finding that such an interpretation “defies logic”); Lee v. Mondelez Int’l, Inc., 637

F. Supp. 3d 116, 133-35 (S.D.N.Y. 2022) (holding that when a chocolate bar label states “70%

cacao,” but the “label itself makes no representation about whether the cacao has been processed,”

it does not reasonably convey that the product is made with 70% unprocessed cacao).

       Nor would it have been reasonable for a concertgoer to assume that the ticketed event time

referred to when Madonna would take the stage. To start, Plaintiffs concede that Madonna “has a

consistent history over many years of starting her concerts over two hours late.” AC ¶ 33. Plaintiffs

do not allege that this history is unknown to her fans. Indeed, they acknowledged that this history

is well-publicized and known to at least some putative class members. Complaint ¶ 17.5 The

familiarity of Madonna’s fans with her “consistent history” of “late” starts precludes Plaintiffs’

theory of deception. See, e.g., Moore v. Trader Joe’s Co., 4 F.4th 874, 884 (9th Cir. 2021)

(affirming dismissal of false advertising claims about Manuka honey because “an average

consumer of Manuka honey would likely know more than most about the production of the

product” given that it is a “specialty product”).

       Even if a casual fan were not familiar with Madonna’s “consistent history,” they would

need to disregard their life experiences and knowledge—including that major arena concerts



5
 Plaintiffs “may not plead facts in their amended complaint that contradict those in their original
complaint.” Hourani, 943 F. Supp. 2d at 171; see also Kanam v. Haaland, 2022 WL 2315552, at
*5 (D.D.C. June 28, 2022), aff’d, 2023 WL 3063526 (D.C. Cir. Apr. 25, 2023) (denying leave to
amend where amended complaint contradicted facts alleged in original complaint).


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typically have opening acts—to think she would begin performing at 8:30 p.m. But reasonable

consumers do not ignore such basic facts of life. See, e.g., Mills v. Giant of Md., LLC, 508 F.3d

11, 15 (D.C. Cir. 2007) (Kavanaugh, J.) (affirming dismissal of putative class action alleging that

milk label failed to disclose that some consumers may be intolerant of milk because “a reasonable

consumer today would be well aware that milk may adversely affect some people”); Orshan v.

Apple Inc., 2018 WL 1510202 (N.D. Cal. Mar. 17, 2018) (“[A] reasonable consumer would expect

that an iPhone and iPad would at least devote some storage space to iOS . . . and no reasonable

consumer would have expected that all of the advertised storage capacity would be available for

personal use.”); Daniel v. Mondelez Int’l, Inc., 287 F. Supp. 3d 177, 191 (E.D.N.Y. 2018)

(dismissing claims that candy packaging was misleadingly underfilled because “consumers have

come to expect at least some slack-fill”).

       For example, in Floyd, 70 A.3d 246, plaintiffs sued under the CPPA claiming that Bank of

America’s practice of routing customer phone calls placed to a domestic customer service number

to an international call center was deceptive. The D.C. Court of Appeals affirmed dismissal of

plaintiffs’ claims because, among other reasons, “considering that the widespread corporate use of

overseas call centers in today’s global economy is both subject to frequent media coverage and

fodder for nationally syndicated sitcoms and commercials, no consumer could have an objectively

reasonable expectation that calling a toll-free or domestic customer service number provided by

the bank necessarily entails speaking with a customer service representative in the United States.”

Id. at 256-57 (internal quotations omitted).

       Just like consumers know that customer service call centers are often overseas, or that some

people cannot tolerate milk, reasonable consumers and concertgoers know that headliners in major

arena concerts rarely, if ever, take the stage at the ticketed event time. It is common knowledge




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that concerts—and particularly major arena concerts by superstars like Madonna—have one or

more opening acts, that transitions from one act to another can require set changes, and that the

duration of an opening act can vary. Accordingly, absent an express statement that the headline

act will take the stage at the ticketed event time, a reasonable consumer would not expect the

headline act to take the stage then.

       Moreover, concertgoers who bought their tickets from Ticketmaster and certain resellers

were told—and affirmatively agreed—that the concert’s “date and time are subject to change,”

that refunds are not guaranteed if an event is moved or rescheduled, and that there could be opening

acts of an unknown duration. Warshafsky Declaration, Ex. 1 §§ 9-10, 17 (emphasis added).

Plaintiffs concede they bought tickets from Ticketmaster or a reseller, and that Ticketmaster

processed their purchases, so they agreed to these terms. See AC ¶¶ 9-11, n.4. In the face of these

disclosures, a consumer could not reasonably think the event was guaranteed to begin at 8:30 p.m.,

let alone that Madonna would take the stage then. See Druyan v. Jagger, 508 F. Supp. 2d 288, 244

(S.D.N.Y. 2007) (holding that a reasonable consumer would not be misled into believing that a

concert’s date and time were guaranteed when the concert tickets and Ticketmaster’s terms stated

that date and time are subject to change); Facebook, 2023 D.C. Super. Lexis 7, at *10 (dismissing

claims that Facebook violated the CPPA by misleadingly representing or omitting facts about

sharing of user information because Facebook’s terms of service and agreements “clearly and

repeatedly made disclosures to users about its policies such that the reasonable user could not have

been misled as a matter of law”).

       Plaintiffs make vague assertions about when sporting events and other concerts begin. AC,

Introduction at 4. But experience attending sporting events (which are broadcast live on television)

does nothing to inform consumers of when the headline act at a concert will take the stage. Nor do




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Plaintiffs plead any facts about how concerts for other chart-topping artists are marketed or plead

when other such artists take the stage relative to the advertised event time. See id.6

       For all these reasons, Plaintiffs fail to plausibly allege that Defendants’ advertisements

reasonably conveyed that Madonna would start performing at 8:30 p.m. And as noted, that is only

half the problem with Plaintiffs’ claims based on the advertised event time. Plaintiffs’ claimed

injuries are predicated on the concert ending later than they had expected. See AC, Introduction at

2 (claiming that Plaintiffs chose to leave prior to concert’s conclusion). Yet Plaintiffs do not point

to any statements by Defendants about when Madonna’s show would end. That is because

Defendants never made any such statements. Nor do Plaintiffs make any allegations about what

time a reasonable consumer would expect a Madonna concert to end.7

       As a result, each of Plaintiffs’ purported causes of action based on the ticketed event time

fails as a matter of law. Their CPPA, fraudulent misrepresentation, and negligent misrepresentation

claims fail because Plaintiffs cannot plausibly allege that the ticketed event time deceived



6
  While Plaintiffs make the conclusory assertion that Taylor Swift takes the stage at the ticketed
event time, they plead no factual allegations in support. Such “naked assertions devoid of further
factual enhancement” should not be credited. Lovelien v. United States, 422 F. Supp. 3d 341, 350
(D.D.C. 2019) (citation omitted). Plaintiffs’ unsupported assertion is also flat wrong. See
https://www.capitalfm.com/artists/taylor-swift/eras-tour-times-start-how-long-stage-when/ and
https://www.setlist.fm/setlists/taylor-swift-3bd6bc5c.html (stating that Taylor Swift typically
begins performing about 3.5 hours after the venue doors open, following an opening act).
7
  Unlike the Plaintiffs here, the plaintiffs in the New York Action tried to explain how the “8:30
p.m.” ticketed event time might convey that the show would end before 11 p.m. Initially, they
falsely alleged that the defendants represented the concerts would run two hours. Fellows,
Complaint ¶ 13, ECF No. 1. After the defendants pointed out that they never made such a
representation, plaintiffs withdrew that allegation, replacing it with an allegation that plaintiffs
assumed the concert would run two hours and fifteen minutes from the ticketed event time because
they were familiar with Madonna’s performance history and how long her shows usually run.
Fellows, Amended Complaint ¶ 12, ECF No. 27. But as defendants pointed out in their renewed
motion to dismiss, that allegation confirmed the implausibility of plaintiffs’ theory because any
concertgoer who was familiar with Madonna’s performance history would surely know that she
has opening acts and does not take the stage at the ticketed event time.


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reasonable consumers. Plaintiffs’ promissory estoppel claim fails because Plaintiffs do not allege

any promises by Defendants about when Madonna would take or leave the stage. In re BHI Int'l,

Inc., 2012 WL 4738747, at *1 (Bankr. D.D.C. Oct. 3, 2012) (dismissing promissory estoppel claim

where there was no promise). The unjust enrichment claim fails for the same reason as the other

claims: Plaintiffs cannot plausibly allege any misrepresentation that would render Defendants’

enrichment “unjust.” Edwards v. Ocwen Loan Servicing, LLC, 24 F. Supp. 3d 21, 29 (D.D.C. 2014)

(“Under D.C. law, ‘[u]njust enrichment occurs when a person retains a benefit (usually money)

which in justice and equity belongs to another.’”) (citation omitted). Finally, Plaintiffs’ failure to

plausibly allege any of their underlying tort claims dooms their civil conspiracy claim because

“liability for civil conspiracy depends on performance of some underlying tortious act.” Saucier,

64 A.3d at 446.

       C.      Plaintiffs Fail to State Omission-Based Claims Premised on Their Conclusory
               Assertions that the Venue was “Uncomfortably Hot” and that Madonna “Lip
               Synched”

       Plaintiffs also base their claims (other than promissory estoppel) on their assertions that

(1) the venue was “uncomfortably hot” during Madonna’s concerts at the Capital One Arena, and

(2) Madonna engaged in lip synching. AC ¶¶ 33, 49, 54, 59. Plaintiffs allege that Defendants failed

to disclose these supposed facts. See id.

       To state an omission-based claim under the CPPA, Plaintiffs must plausibly allege that the

defendant failed to disclose a “material fact” and “such failure tends to mislead.” Salvador, 2020

WL 7042843, at *2-3. “[A]n omission is material if a significant number of unsophisticated

consumers would find that information important in determining a course of action.” Floyd, 70

A.3d at 256 (citation omitted). To state a claim for negligent or fraudulent misrepresentation,

Plaintiffs must plausibly allege with particularity, among other elements, that Defendants made a

false omission of a material issue that Defendants had a duty to disclose, and that Plaintiffs


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reasonably and to their detriment relied on the false information. EAW Grp., Inc. v. Republic of

Gam., 2005 U.S. Dist. LEXIS 56012, at *5 (D.D.C. June 6, 2005); Yudzon v. Sage Title Grp., LLC,

2020 U.S. Dist. LEXIS 90295, at *19 (D.D.C. May 22, 2020).

       Plaintiffs do not plausibly allege that the supposed omissions here were material or tended

to mislead. It is not enough to simply assert that some alleged omission was material and harmed

consumers; Plaintiffs must back it up with factual allegations. See Hackman v. Goya Foods, 2018

D.C. Super. LEXIS 138 (D.C. Super. Ct. Oct. 2, 2018) (plaintiff failed to state plausible CPPA

claims premised on alleged empty space in packaged rice because there were no allegations about

how much empty space there was or how the volume of rice in the box differs from the weight

stated on the package); Plummer v. Safeway, Inc., 934 F. Supp. 2d 191, 199 (D.D.C. 2013)

(“Because Plummer asserts mere legal conclusions, rather than facts, he fails to state a claim

for fraudulent misrepresentation.”); Burks Cos. v. Howard Univ., 2018 U.S. Dist. LEXIS 225203,

at *26 (D.D.C. May 9, 2018) (dismissing negligent misrepresentation claim that was alleged in a

“vague and conclusory manner”).

       For example, in Salvador, the plaintiffs alleged that Allstate failed to disclose information

about its claim handling processing and policies. 2020 WL 7042843, at *3. But there were “no

allegations about how plaintiffs responded to these purported omissions or what they would have

done absent the alleged omissions.” Id. Instead, the plaintiffs made “conclusory allegations of

certain purported deficiencies in defendants’ claims handling processes, without factual allegations

to support how such failures tend to mislead consumers.” Id. The Court dismissed the claim,

finding that plaintiffs did not plausibly allege that “the alleged omissions were in fact misleading

to anyone, much less a reasonable consumer.” Id. (citation omitted).




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       It is the same here. Plaintiffs do not plead how hot the venue was, what temperature they

(or reasonable consumers) expected the venue to be, or any basis for such an expectation. Nor do

Plaintiffs allege how they “would have responded” had Defendants disclosed the anticipated

temperature. Salvador, 2020 WL 7042843, at *3. Moreover, according to the initial Complaint,

there has been “significant media attention” regarding the temperature at Madonna’s concerts.

Complaint ¶ 55. This allegation contradicts Plaintiffs’ bare assertion that this information was

unknown to Madonna’s fans and that it was deceptive for Defendants not to disclose it. See Mills,

508 F.3d at 15 (reasonable consumers are aware of facts that receive significant media attention).

       Similarly, Plaintiffs do not plead any facts to support their bare assertion that Madonna lip

synched for some portion of the shows. They do not allege any facts about how much Madonna

allegedly lip synched, never mind facts that tend to show the alleged amount of lip synching was

material. Nor do Plaintiffs allege how they—erroneously—came to believe that Madonna was

engaged in lip synching, which is another reason to reject this claim. See Fahey v. Deoleo USA,

Inc., 2018 WL 5840664 (D.D.C. Nov. 8, 2018) (dismissing plaintiff’s CPPA claim alleging that

olive oil was mislabeled because plaintiff failed to allege facts supporting an inference that the

label statements were false). Plaintiffs cannot plead the requisite facts because Madonna sang live

throughout the concerts. In addition, the allegations that Plaintiffs do make are internally

contradictory assertions that Madonna lip synched “much of her performance” (AC, Introduction

at 3), “some of her songs” (id. ¶ 15), and “some of her performance” (id. ¶ 33). These

contradictions alone render Plaintiffs’ claim implausible. See Nat’l ATM Council, Inc. v. Visa Inc.,

922 F. Supp. 2d 73, 87 (D.D.C. 2013) (finding plaintiff failed to state a claim where complaint

included inconsistent allegations). As a result, Plaintiffs fail to plausibly allege that Defendants

made any material omission of fact that tended to deceive reasonable consumers.




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        Plaintiffs’ negligent and fraudulent misrepresentation claims also fail for two additional

reasons. First, as noted, these claims must be premised on a special relationship that gives rise to

a “duty to disclose.” See EAW Grp., 2005 U.S. Dist. LEXIS 56012, at *5; Yudzon, 2020 U.S. Dist.

LEXIS 90295, at *19. Yet Plaintiffs do not allege any basis for such duty here.

        Second, Plaintiffs’ allegations of an “uncomfortably hot” venue and lip synching also fail

to satisfy Rule 9(b) for the reasons explained above. See Ekopel D.O.O. v. Citibank, N.A., 2024

WL 519648, at *10 (D.D.C. Feb. 9, 2024) (“generalized allegations regarding false statements . . .

do not satisfy Rule 9(b)’s requirement to ‘state with particularity the circumstances constituting

fraud’”) (citation omitted); Anderson, 221 F.R.D. at 255 (dismissing claim under Rule 9(b) when

the plaintiff “advanc[ed] nothing more than what appears to be a blanket belief that the defendants

as a group misrepresented or withheld material and significant facts”) (internal quotation marks

omitted). Moreover, Plaintiffs once again do not point to any specific advertising they allegedly

saw and relied on in connection with these allegations, which alone requires dismissal of these

claims. See Kowal, 16 F.3d at 1278; Salvador, 2020 WL 7042843, at *3. Accordingly, all of

Plaintiffs’ temperature- and lip synching-related claims fail, including their derivative unjust

enrichment and civil conspiracy claims. See Saucier, 64 A.3d at 446.

        D.      Plaintiffs’ Claims Also Fail for Other Independent Reasons

                1.      Plaintiffs’ Unjust Enrichment and Promissory Estoppel Claims (Counts 2
                        and 3) Also Fail Because an Express Contract Governs

        Claims for unjust enrichment and promissory estoppel “presuppose that an express,

enforceable contract is absent,” so courts “generally prohibit litigants from asserting these claims

when there is an express contract that governs the parties’ conduct.” Plesha v. Ferguson, 725 F.

Supp. 2d 106, 112 (D.D.C.2010) (citing Vila v. Inter–Am. Inv., Corp., 570 F.3d 274, 279 (D.C.

Cir. 2009)). Plaintiffs may state such claims as an alternative to breach of contract, but only if there



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is an “allegation that the contract is invalid or unenforceable.” He Depu v. Yahoo! Inc., 306 F.

Supp. 3d 181, 193 (D.D.C. 2018) (collecting cases).

       Plaintiffs initially asserted a breach of contract claim against Live Nation (which operates

Ticketmaster). Complaint ¶¶ 5, 42-47. The Amended Complaint dropped Live Nation and that

claim without explanation. But Plaintiffs cannot plead around the existence of their contract with

Ticketmaster, nor do they (or could they) allege that their contract with Ticketmaster (i.e., the

Terms of Use and Purchase Policy) is invalid or unenforceable. On the contrary, Plaintiffs continue

to acknowledge the existence of that contract and purport to rely on it for their amended claims.

See AC ¶ 17(1), n.4 (citing Ticketmaster’s Purchase Policy and claiming that Ticketmaster acts as

“agent” to the “Event Organizers,” which includes the artist and venue, in processing their concert

ticket purchases). The Ticketmaster Terms of Use and Purchase Policy expressly provide that the

concert’s “date and time are subject to change,” that refunds are not guaranteed if an event is

moved or rescheduled, and that Ticketmaster is “not always made aware of Opening Acts or the

length of their performances.” Warshafsky Declaration, Ex. 1 §§ 9-10, 17 (emphasis added).

Plaintiffs cannot successfully plead quasi-contractual claims against the Defendants given that an

express contract governs. Bazarian Int’l Fin. Assocs., L.L.C. v. Desarrollos Aerohotelco, C.A., 168

F. Supp. 3d 1, 25 (D.D.C. 2016) (dismissing quasi-contract claim against certain defendants,

including those who were not original parties to the contract, because a contract between plaintiff

and one defendant governed the dispute).

               2.     Plaintiffs’ Civil Conspiracy Claim (Count 6) Also Fails for Other Reasons

       Plaintiffs rely on their underlying CPPA, promissory estoppel, unjust enrichment, and

fraudulent misrepresentation claims for their conspiracy claim. AC ¶ 65. As a threshold matter,

promissory estoppel and unjust enrichment are quasi-contractual claims and thus cannot support a

conspiracy claim, and a CPPA claim cannot support a civil conspiracy claim either. See Hill v.


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Medlantic Health Care Grp., 933 A.2d 314, 334 (D.C. 2007) (civil conspiracy “is not an

independent tort but only a means for establishing vicarious liability for an underlying tort”)

(citation omitted); Findlay v. CitiMortgage, Inc., 813 F. Supp. 2d 108, 122 (D.D.C. 2011)

(rejecting civil conspiracy claim under CPPA and noting that “the District of Columbia Court of

Appeals has expressed skepticism about statutory violations serving as ‘underlying torts’ for civil

conspiracy claims where the statutory right at issue has no common law tort analogue”). In any

event, Plaintiffs fail to state any underlying cause of action (in tort or otherwise), so their civil

conspiracy claim likewise fails. See Precision Cont. Sols., LP v. ANGI Homeservices, Inc., 415 F.

Supp. 3d 113, 126 (D.D.C. 2019).

II.    THE COMPLAINT SHOULD BE DISMISSED UNDER RULE 12(B)(1) BECAUSE
       PLAINTIFFS LACK ARTICLE III STANDING

       A.      Legal Standard for Motion to Dismiss for Lack of Article III Standing

       To survive a motion to dismiss under Rule 12(b)(1), a plaintiff must establish that he has

suffered an injury-in-fact that is: (1) concrete, particularized, and actual or imminent; (2) fairly

traceable to the defendant’s conduct, “meaning that ‘there must be a causal connection between

the injury and the conduct complained of’”; and (3) redressable by a favorable court decision. See

Woodford v. Yazam Inc., 2023 WL 8083975, at *4 (D.D.C. Nov. 21, 2023). The plaintiff bears the

burden of demonstrating the Court’s subject-matter jurisdiction over the claim at issue. Arpaio v.

Obama, 797 F.3d 11, 19 (D.C. Cir. 2015) (citing Lujan, v. Defs. of Wildlife, 504 U.S. 555, 561

(1992)). Therefore, while a complaint’s factual allegations are accepted as true, the Court does

“not assume the truth of legal conclusions, nor [ ] accept inferences that are unsupported by the

facts set out in the complaint.” Arpaio, 797 F.3d at 19. “Thus, ‘[t]o survive a motion to dismiss, a

complaint must contain sufficient factual matter, accepted as true, to ‘state a claim [of standing]

that is plausible on its face.’” Id. (quoting Iqbal, 556 U.S. at 678).



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       B.      Plaintiffs Fail to Plausibly Allege Any Cognizable Injury Traceable to the
               Asserted Claims

       Plaintiffs allege that they were deceived by the advertised 8:30 p.m. event time because

Madonna took the stage approximately two hours later (after an opening act). But even taking

these allegations at face value, courts have recognized that a delay in an event start time “of only

a few hours was not a sufficient injury to invoke the protections of Article III of the Constitution.”

Ford v. Reynolds, 326 F. Supp. 2d 392, 401 (E.D.N.Y. 2004), aff’d, 167 F. App’x 248 (2d Cir.

2006). In Ford, the court cited the Supreme Court’s acknowledgment that “[t]here is, of course a

de minimis level of imposition with which the Constitution is not concerned” to find that student

plaintiffs suffered no constitutional injury from an event beginning at 11:30 a.m. instead of the

scheduled 9:00 a.m. start time, where the speakers were delayed between one hour and several

hours in giving their speeches. Id. (citing Ingraham v. Wright, 430 U.S. 651, 674 (1977)).

       Plaintiffs attempt to circumvent this fatal and incurable deficiency by alleging that they

“had to leave the concerts early prior to the concerts’ conclusion, therefore depriving each of them

of the benefit of seeing the complete concert.” AC, Introduction at 2. But the Amended Complaint

does not allege what time Plaintiffs left the concerts, and whether it was two minutes before the

end or an hour. At any rate, even if they missed more than a de minimis portion of the concert (a

fact that Plaintiffs must plead and should not be assumed), that purported injury arose out of

Plaintiffs’ unexplained and illogical expectation that the concerts would end by some particular

time. But that supposed expectation is not “plausibly alleged to be causally connected to the legal

claim asserted,” namely Plaintiffs’ allegation that Defendants falsely advertised the concerts as

beginning at 8:30 p.m. Woodford, 2023 WL 8083975, at *4. As discussed above, Plaintiffs do not

identify any misrepresentations made by Defendants about when the concerts would end.




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       Plaintiffs’ allegations that they had to leave the concerts early as a result of Defendants’

conduct is especially implausible given that (1) Plaintiffs were told, and agreed, before buying

their concert tickets that the event time was subject to change and that the headline act might be

preceded by opening acts of unknown length (Warshafsky Decl., Ex. 1, § 9); and (2) Capital One

Arena told concertgoers before the concert “that the show may run past when the last train is

expected to leave the Gallery Place station” (i.e., after midnight) and to “Please plan your evening’s

travel and surrounding details accordingly” (Warshafsky Decl., Exs. 3-5). Plaintiffs nonetheless

apparently chose not to make arrangements to stay for the entire concert in the face of these notices,

and in the absence of any other representation as to what time the concerts would end. That is

simply not a cognizable injury fairly traceable to the complained of conduct. See Woodford, 2023

WL 8083975, at *5-6 (no standing where plaintiff’s physical, emotional, and monetary damages

were not traceable to the alleged misrepresentations at issue); Little v. SunTrust Bank, 204 A.3d

1272, 1273–75 (D.C. 2019) (plaintiffs failed to show standing to bring CPPA counterclaim against

trustee where their alleged injury in the form of attorney’s fees incurred in defending against

trustee’s lawsuit was not “fairly traceable” to any misrepresentation made by trustee).

       With respect to Plaintiffs’ allegations that the arena was “uncomfortably hot” (AC ¶ 15),

courts have similarly recognized that simply being made to endure “uncomfortable” temperatures

is not a cognizable injury sufficient to confer Article III standing. See Turner v. Porsche Cars N.

Am., Inc., 2023 WL 8788754, at *6 (C.D. Cal. Dec. 19, 2023) (allegation that vehicle’s heating

system stopped working and plaintiff was “‘uncomfortable’ when driving in the cold winter

months” was insufficient to confer standing); see also Keepers, Inc. v. City of Milford, 807 F.3d

24, 43 (2d Cir. 2015) (“[M]ere discomfort, . . . no matter how sharply felt, is insufficient to confer

standing.”).




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       As noted, Plaintiffs’ remaining allegations that Madonna lip synched are wholly

unsupported. Regardless, the alleged lip synching would not constitute a concrete and cognizable

Article III injury. If a performer misses a note or a cue, that may lead to some fleeting

disappointment, but not a legally cognizable injury.

       C.      Plaintiffs Fail to Plausibly Allege Any Injury Caused by the Remaining
               Defendants

       For Plaintiffs to have Article III standing, their purported injury must be “fairly . . .

trace[able] to the challenged action of the defendant, and not . . . th[e] result [of] the independent

action of some third party not before the court.” Lujan, 504 U.S. at 560-61. Plaintiffs in their

original Complaint named two Live Nation entities—Live Nation Worldwide, Inc. and Live

Nation MTours (USA), Inc.—as defendants. Plaintiffs alleged that Live Nation participated in the

allegedly deceptive conduct as Madonna’s “promoter,” that Live Nation owns Ticketmaster where

two of the named Plaintiffs bought their tickets and which processed the ticket sale of the third

named Plaintiff, that each of the named Defendants (including the Live Nation entities) made the

misrepresentations and omissions at issue, that each of the Plaintiffs bought their tickets “in

reliance of Defendants’ advertisements for the concerts” (including the advertisements of the Live

Nation defendants), and that “the deceptive acts and practices of Defendants [including the Live

Nation defendants] . . . caused damages and injury to Plaintiffs and the other Class Members.”

Complaint at 2-3; id. ¶¶ 11-14, 16, 38, 55-57.

       The Amended Complaint dropped the Live Nation parties, and Plaintiffs now allege that

they “purchased their tickets in reliance” on the advertisements of the remaining Defendants,

Madonna and the owner of Capital One Arena, Lincoln Holdings, and that it was the allegedly

deceptive acts and practices of those remaining Defendants that injured Plaintiffs and the other

putative class members. AC ¶¶ 5, 12, 34. But the Amended Complaint fails to identify any such



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advertising by these remaining defendants and fails to plausibly allege any facts to support an

allegation that Plaintiffs even saw, much less relied on or were injured by, any advertising by those

remaining Defendants. At any rate, as discussed, Plaintiffs “may not plead facts in their amended

complaint that contradict those in their original complaint.” Hourani, 943 F. Supp. 2d at 171.

       Plaintiffs allege that they saw, relied on, and were injured by advertising by Live Nation,

including in their original Complaint and in the Amended Complaint where they assert that

Plaintiffs bought their tickets from Ticketmaster and StubHub (AC ¶¶ 9-11), and thus necessarily

saw those third parties’ advertising for the concerts, including the advertised 8:30 p.m. event time.

But Live Nation is no longer a named defendant (and StubHub never was), so Live Nation is now

a “third party not before the court.” Lujan, 504 U.S. at 560-61. Plaintiffs therefore cannot show

that the remaining defendants’ alleged misrepresentations or omissions “are a but-for cause of

[their] injuries. . . . This flunks the standing test.” Woodford, 2023 WL 8083975, at *5-6. See also

Salvador, 2020 WL 7042843, at *4 (“In a multi-defendant action or class action, the [named]

plaintiffs must establish that they have been harmed by each of the defendants”; dismissing all

claims against defendants who were not responsible for the allegedly misleading advertising).

       D.      Plaintiffs Lack Standing to Seek Injunctive Relief

       Plaintiffs’ request for injunctive relief also independently fails because they lack standing

to seek injunctive relief. To have standing to seek injunctive relief, Plaintiffs must show a

likelihood of future injury. Dearth v. Holder, 641 F.3d 499, 501 (D.C. Cir. 2011) (past injuries

alone are insufficient to establish standing for injunctive relief); In re Nifedipine Antitrust Litig.,

335 F. Supp. 2d 6, 19 (D.D.C. 2004) (“In the context of injunctive relief, however, lingering

monetary injury, without any ongoing threat of recurrent violations [to the plaintiffs], is not

sufficient to confer standing to seek an injunction.”). The threat of injury must be “sufficiently real

and immediate.” McNair v. Synapse Grp. Inc., 672 F.3d 213, 223 (3d Cir. 2012) (citation omitted).


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Moreover, in the class action context, named plaintiffs must show that they themselves are likely

to suffer future injury from the defendants’ conduct and cannot establish standing by relying on

the likelihood of future injury to absent class members. Id.; O’Shea v. Littleton, 414 U.S. 488, 494

(1974).

          Plaintiffs here do not meet that requirement. They do not allege that they plan to attend

another Madonna concert in future. That alone warrants dismissal of their request for injunctive

relief. Lujan, 504 U.S. at 563–64 (no standing for plaintiff with no current plans to return to site

of alleged injury). Nor do Plaintiffs allege that Madonna has any forthcoming tour dates or other

performances at Capital One Arena (she does not), or any other form of real or immediate

likelihood of future injury. See Summers v. Earth Island Inst., 555 U.S. 488, 496 (2009) (“‘[S]ome

day’ intentions – without any description of concrete plans, or indeed even speculation of when

some day will be – do not support a finding of the ‘actual or imminent’ injury that our cases

require.”) (citation omitted). Having thus failed to allege any likelihood of future injury, Plaintiffs’

request for injunctive relief should be dismissed.

III.      IF ANY PART OF THE AMENDED COMPLAINT SURVIVES, THE COURT
          SHOULD STRIKE ITS CLASS ALLEGATIONS

          A.     Legal Standard for Motion to Strike Class Allegations

          “Courts have broad discretion in determining whether to permit a case to proceed as a class

action, and a defendant may move to strike class action allegations at any time, including at the

pleadings stage.” See Salvador, 2020 WL 7042843, at *4. “In determining the propriety of a class

action, the central question is whether the requirements of Federal Rule of Civil Procedure 23 are

met.” Id.; see also Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013) (to maintain a class action,

plaintiffs “must affirmatively demonstrate . . . compliance with Rule 23”) (citation omitted). All

four requirements of Rule 23(a), and one of the three categories of Rule 23(b), must be met.



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Stephens v. Farmers Rest. Grp., 329 F.R.D. 476, 482 (D.D.C. 2019); Richardson v. L'Oreal USA,

Inc., 991 F. Supp. 2d 181, 195 (D.D.C. 2013).

         A motion to strike pursuant to Rule 12(f) may be granted where certification requirements

cannot be met. See, e.g., Salvador, 2020 WL 7042843, at *5 (striking class allegations that were

“fatally deficient” because “individualized issues will necessarily predominate”); Abdul-Baaqiy v.

Fed. Nat’l Mortg. Ass’n, 149 F. Supp. 3d 1, 10 (D.D.C. 2015) (striking class allegations because

the named plaintiff could not meet the “typicality” requirement). As the Supreme Court has

observed, “sometimes the issues are plain enough from the pleadings to determine whether” class

treatment is appropriate. Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 160 (1982). That is the case

here.

         B.       The Amended Complaint’s Class Allegations Should be Stricken Because the
                  Proposed Class Could Never be Certified

         Plaintiffs seek to certify a class under Rule 23(a) and (b)(3) on behalf of all individuals

throughout the United States who purchased a ticket or became a ticketholder to a Celebration

Tour concert at the Capital One Arena, including those who purchased from Ticketmaster, ticket

resellers, or the venue’s box office. AC ¶ 17(1)-(3). The proposed class could never be certified

for numerous reasons.

         To start, a class may not be certified where it appears to sweep in members who lack Article

III standing. See Attias v. CareFirst, Inc., 344 F.R.D. 38, 52 (D.D.C. 2023); Denney v. Deutsche

Bank AG, 443 F.3d 253, 264 (2d Cir. 2006) (“no class may be certified that contains members

lacking Article III standing,” so a proposed class “must therefore be defined in such a way that

anyone within it would have standing.”). The proposed class here violates this requirement because

it includes:

         •     Concertgoers who never saw or relied on any advertising by the current
               Defendants, including ticketholders who did not purchase their own tickets or


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           purchased from ticket resellers;

       •   Concertgoers who bought their tickets knowing that Madonna would not take
           the stage at the ticketed event time, including because they were familiar with
           her “consistent history” of starting concerts after the ticketed event time (AC
           ¶ 33), or because they understood in general that headliners at major arena
           concerts do not take the stage at the ticketed event time;

       •   Concertgoers who did not leave the concerts early;

       •   Concertgoers who were satisfied with the temperature of the venue and were
           not “uncomfortable”;

       •   Concertgoers for whom the alleged misrepresentations and omissions were not
           material, and who would have bought their tickets to see Madonna perform
           regardless; and

       •   Concertgoers who were fully satisfied with their concert experience and had all
           their expectations met or exceeded.

The proposed class is therefore replete with concertgoers who plainly were not deceived or injured.

This warrants striking the Amended Complaint’s class allegations. See, e.g., Sanders v. Apple Inc.,

672 F. Supp. 2d 978, 991 (N.D. Cal. 2009) (striking class allegations for class defined as all owners

of 20–inch Aluminum iMac computers because “no class may be certified that contains members

lacking Article III standing,” which would include members who “suffered no damages”) (citation

omitted). See also In re Light Cigarettes Mktg. Sales Pracs. Litig., 271 F.R.D. 402 (D. Me. 2010)

(declining to certify class for CPPA claim where proposed class definition included everyone who

bought a product because this included people who were not deceived by defendants).

       Nor can Plaintiffs redefine the class to somehow limit it to a segment who were deceived

or injured. Whether any putative class member was deceived or injured would depend on highly

individualized inquires including: (i) the consumer’s pre-purchase knowledge regarding

Madonna’s performance history, (ii) what advertisements or representations, if any, each consumer

saw and relied on (including any relevant disclosure language), (iii) what terms of use or other

contractual language each consumer agreed to, (iv) when each consumer wanted or expected


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Madonna to take the stage and end her show, and (v) each consumer’s individual expectations

about the venue’s temperature and Madonna’s performance. These individualized issues would

“overwhelm” any common questions such that the claims are “not appropriate for class

certification.” Pelman v. McDonald’s Corp., 272 F.R.D. 82, 94-95 (S.D.N.Y. 2010) (citation

omitted). See also Salvador, 2020 WL 7042843, at *5 (individual issues predominate CPPA claim

alleging misrepresentation where “plaintiffs make vague allegations about defendants’

‘advertising campaign,’ but point to no specific advertisement or public pronouncement by

defendants that was seen by all putative class members”).8

        To represent any putative class, Plaintiffs also must plausibly allege, and ultimately show,

that their claims are “typical” of the class members’ claims. Abdul-Baaqiy, 149 F. Supp. 3d at 11

(“Because Plaintiff has failed to meet the typicality requirement, his class action claims will be

stricken . . . .”). But Plaintiffs, who all claim they left the concert early, make no effort to explain

how their claims are typical of concertgoers who stayed for the entire show. Nor do they explain

how they are typical of concertgoers who expected Madonna to take the stage later than the ticketed

event time and were entirely satisfied with their concert experience. Moreover, Plaintiffs allege

they bought their tickets from Ticketmaster or StubHub, yet purport to represent class members

who bought tickets from other ticket resellers and who may have agreed to additional or different

terms regarding their ticket purchases and viewed different representations (from their sellers)




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  Similarly, any damages calculations would require extensive, individualized determinations,
including individualized proof and calculation of how early each concertgoer left the concert and
what monetary value that corresponds to, and of any other consequential damages they each claim,
such as the “additional costs for babysitters” or transportation alluded to in the Amended
Complaint. AC ¶ 15; see Ritti v. U-Haul Int’l, Inc., 2006 WL 1117878, at *12 (E.D. Pa. Apr. 26,
2006) (individual damages issues such as calculation of consequential damages requiring
individualized proof and calculation “underscore the inadvisability of certification here”).


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regarding the concerts.9 Plaintiffs simply cannot be “typical” of all the putative class members.

       Finally, Plaintiffs try to plead the superiority requirements of Fed. R. Civ. P. 23(b)(3) by

alleging that “no Class Member could afford to seek legal redress individually for the claims

alleged herein” and “even if Class Members themselves could afford such individual litigation, the

court system could not.” AC ¶ 25. Despite these allegations and his assertion to this Court that

“individualized litigation would significantly increase the delay and expense to all parties and to

the Court” (id.), Plaintiffs’ counsel has filed multiple individual arbitrations and small claims court

cases against Madonna and her concert venues (including Capital One Arena), based on

substantially the same allegations as in this case. These individual actions directly contradict

Plaintiffs’ allegations that “no Class Member could afford to seek legal redress individually for

the claims alleged herein.” Id.10




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   For example, concertgoers who purchased tickets processed by Ticketmaster, including
Plaintiffs, agreed to a “Limitation of Liability” clause that expressly waives their ability to seek,
among other things, consequential damages from Live Nation, event organizers (including artists
and venues), and others, in connection with tickets purchased from Ticketmaster. Warshafsky
Decl., Ex. 2 ¶ 15. See also Druyan, 508 F. Supp. 2d at 238 (enforcing limitation of liability clause
in a prior version of Ticketmaster’s Terms of Use). The Ticketmaster Terms of Use and Purchase
Policy also require informal dispute resolution as a predicate to arbitration and prohibit class-wide
litigation. Id. By filing this lawsuit, the named Plaintiffs breached that agreement. Defendants have
chosen not to compel informal dispute resolution and arbitration, but only as to the three named
Plaintiffs. Defendants reserve all rights with respect to informal dispute resolution, arbitration, and
the class waiver with respect to all absent class members in connection with the Ticketmaster
Terms of Use and Purchase Policy and any other applicable agreements. See Gutierrez v. Wells
Fargo Bank, NA, 889 F.3d 1230, 1237 (11th Cir. 2018). This means that the three named Plaintiffs
are in a unique position from the majority of class members who are unable to participate in class
litigation, such that Plaintiffs could never be found to be typical or adequate representatives of the
putative class. See Abdul-Baaqiy, 149 F. Supp. 3d at 10; Jensen v. Cablevision Sys. Corp., 372 F.
Supp. 3d 95, 122-25 (E.D.N.Y. 2019).
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   The Amended Complaint also does not explain how Plaintiffs and their counsel can be adequate
representatives for a class of consumers that includes individuals who Plaintiffs’ counsel elsewhere
asserts are subject to a binding arbitration agreement.


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         In sum, it is clear from the Amended Complaint that no class could be certified here, and

certainly not the class that Plaintiffs are proposing. If the Court does not dismiss this case outright,

it should therefore strike the Amended Complaint’s class allegations.

                                              CONCLUSION

         For the foregoing reasons, Defendants respectfully request that the Amended Complaint

be dismissed in full and with prejudice. Together with the New York Action, Plaintiffs’ counsel

has now forced Madonna, Live Nation, and their venue partners to file three motions to dismiss in

response to four pleadings, including two in this case. Plaintiffs simply cannot state a claim for

relief, and Defendants should not be forced to go through this exercise again given the futility of

any further amendment. See Hettinga v. United States, 677 F.3d 471, 480 (D.C. Cir. 2012) (“A

district court may deny a motion to amend a complaint as futile if the proposed claim would not

survive a motion to dismiss.”) (citation omitted); Wheeler v. Panini Am., Inc., 2022 WL 17039208,

at *8 (D.D.C. Nov. 17, 2022) (denying leave to amend CPPA claim where there was “no world”

in which plaintiff could “satisfy Article III standing for her claims for damages because . . . her

purported injury is too abstract . . . .”).

Dated:      July 22, 2024                               /s/ Erica Taylor Jones
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